Case 1:19-cv-03599-GMH Document 19-5 Filed 08/17/21 Page 1 of 5




  EXHIBIT 3
    Case 1:19-cv-03599-GMH Document 19-5 Filed 08/17/21 Page 2 of 5




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

 Masih Alinejad,

                                   Plaintiff,
                        vs.
                                                    Case Number: 1:19-cv-03599-EGS
 The Islamic Republic of Iran et al.,


                                 Defendants.


                       DECLARATION OF ROYA HAKAKIAN

       COMES NOW Roya Hakakian and states as follows:

       1.      I am a naturalized citizen of the United States and the State of Connecticut,

having come to the United States as a refugee from Iran.

       2.      I am a writer and journalist, and have published works on Iran and its

government including an account of Iran’s extra-territorial assassination operations against

members of diaspora.

       3.      I have had the honor of knowing Masih Alinejad for nearly four years.

During this period, I have known her to be among the most exceptional individuals I have

ever known. Her commitment to her cause, her ceaseless energy, her boundless creativity

and innovation paired with her charming and magnetic presence place her among the

inspirational figures that are the materials of history books. I also know that as a result of

her activism, she lives in the United States in exile and frequently receives threats from the

Iranian government in the form of threats to her personal safety, harassment and

intimidation of her relatives in Iran, and most recently the arrest and sentencing of her

brother Alireza as an attempt to silence her criticism of the Iranian government.



                                                1
    Case 1:19-cv-03599-GMH Document 19-5 Filed 08/17/21 Page 3 of 5




       4.      I have never known her to give into despair and fear except in two distinct

instances. The first time in July 2018, when she called to let me know that her sister and

her family had appeared on the Iranian National TV broadcast to denounce her. It is a

common tactic of the regime to compel public statements and condemnations from the

loved ones of dissidents who they cannot control outside of Iran. We were on the phone

together for a long time, yet no matter what I said to try to reason that her sister had been

under pressure by Iran’s regime and that her words were probably from a script that some

intelligence agent had handed her, Masih would not be consoled. She was heartbroken to

see her sister speak publicly against her, and even more disconcertingly, she feared her

parents were being similarly pressured to follow suit. I remember getting off the phone

with her feeling that I had not been able to offer her much, or have the comforting influence

she was hoping to find in me.

       5.      The next day, I called to check on her, and was surprised to find that Masih

was her cheerful self again. Before speaking with me, her brother Alireza had called. He

knows Masih longer and better than anyone, and had anticipated how she would be affected

by the news of her sister. Alireza had been a tonic. He told her exactly what she needed to

hear. He knew how to strengthen her. He was the one and only family member who still

dared to get on the phone, even knowing that any person in communication with her was

likely being monitored and could also become a target of the regime. I have personally

experienced harassment and hacking of my email accounts and cellphone as a result of my

writing about Iran, and know that such consequences are likely for someone in Alireza’s

position.




                                             2
    Case 1:19-cv-03599-GMH Document 19-5 Filed 08/17/21 Page 4 of 5




       6.      However, Alireza kept her from feeling that she had been abandoned by

them all. Amid all the threats she was receiving and all the ties she had lost to her most

loved ones, Alireza alone could be her lifeline. With a few brotherly words of love,

especially in the intimate and familiar dialect of her community which no one else can

speak, he could build her back up, and remind her that her work was too important to yield

to momentary despair, or even a sister’s betrayal. Through his constancy, Alireza kept

propping her up, which in turn, helped her prop up all others who turned to her for support.

Alireza had thus unknowingly become the brother to every other woman who was taking

part in her “White Wednesdays” campaign.

       7.      A few months later, when Masih called me again, more despondent than the

first time, to tell me the news that Alireza had been arrested, I too was despondent. He had

been the one to fill the absence of everyone else in the family. With him gone, she had been

effectively cut off from her past. He left a gap which no one else could fill. Of all the blows

the regime could possibly deliver to weaken Masih’s resolve, the arrest and imprisonment

of Alireza was surely the greatest of all.

       8.      While she still carries on, those like me who intimately know her can see

how the experience has taken a toll on her, though she rarely speaks of it. Her sleep is

disturbed when she visits with us. She goes to bed long after everyone else, and is awake

before everyone else. She eats less, and works more. She works more dedicatedly than

ever, but I’ve no doubt that it is the work that keeps her from thinking about all that she

has lost, and all that she yearns for. A single one of these losses could cripple anyone. But

all of them combined carry a sort of lethality that only a cruel system aiming to annihilate

another could exercise.




                                              3
Case 1:19-cv-03599-GMH Document 19-5 Filed 08/17/21 Page 5 of 5
